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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND

NHELTA KAYREN

              Plaintiff,

V.                                                        CIVIL ACTION NO
                                                          8:12-cv-02103-DKC

THE CBE GROUP, INC.

Defendant.                                                AUGUST 7, 2012


                              NOTICE OF SETTLEMENT

Plaintiff though the undersigned and the Defendant through their counsel have

reached an agreement to settle the above captioned case.

Plaintiff asks the Court to keep jurisdiction of the matter for thirty (30) days so the

parties can consummate the settlement agreement.

                                                   THE PLAINTIFF

                                                   BY/S/Michael W. Kennedy
                                                   Michael W. Kennedy, Esquire
                                                   The Kennedy Law Firm
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                                  CERTIFICATION

I hereby certify that on 8/7/12 a copy of the foregoing was filed electronically and
served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the Court’s electronic filing
system or by mail to anyone unable to accept electronic filing as indicated on the
Notice of Electronic Filing. Parties may access this filing through the Court’s
CM/ECF System.




BY/S/Michael W. Kennedy
